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16
                                      UNITED STATES DISTRICT COURT
17
                                   NORTHERN DISTRICT OF CALIFORNIA
18
                                                OAKLAND DIVISION
19
     EPIC GAMES, INC.,                                    Case No. 4:20-cv-05640-YGR
20
                           Plaintiff, Counter-Defendant   APPLE INC.’S MOTION FOR RELIEF
21                                                        FROM A NONDISPOSITIVE PRE-
              v.                                          TRIAL ORDER OF A MAGISTRATE
22                                                        JUDGE
     APPLE INC.,
23
                           Defendant, Counterclaimant.    The Honorable Yvonne Gonzalez Rogers
24

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28

     MOTION FOR RELIEF FROM A NONDISPOSITIVE PRETRIAL
     ORDER OF A MAGISTRATE JUDGE                                            Case No.: 4:20-cv-05640-YGR-TSH
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 1            Pursuant to Federal Rule 72(a) and Local Rule 72-2, Apple Inc. (“Apple”) respectfully re-
 2   quests that this Court reverse in part Magistrate Judge Hixson’s order (“Order”) of January 31,
 3   2025 (Dkt. 1157), which overruled certain of Apple’s privilege assertions over documents re-
 4   viewed by the Special Masters and appealed by one of the parties to Judge Hixson pursuant to the
 5   Privilege Re-Review Protocol. See Dkt. 1092 ¶ 4. A district judge must set aside any part of a
 6   magistrate judge’s nondispositive order that is “clearly erroneous or contrary to law.” Fed R. Civ.
 7   P. 72(a); see Perry v. Schwarzenegger, 268 F.R.D. 344, 348 (N.D. Cal. 2010). Respectfully, sev-
 8   eral of Judge Hixson’s rulings were contrary to law and/or clearly erroneous.1
 9            Apple reiterates that it preserves for appeal its contention that the primary purpose test, as
10   formulated by the Ninth Circuit, is not the proper test for determining attorney-client privilege
11   and that the Court should instead apply the D.C. Circuit’s test. See Dkt. 1193, at 1. Even under
12   the Ninth Circuit’s formulation of “the” primary purpose test, however, several of Judge Hixson’s
13   rulings were contrary to law. Because of the number of documents at issue in Judge Hixson’s
14   ruling and this appeal, Apple has grouped similar documents together for ease of reference.
15            Documents Discussing Legal Advice: Entries 1643 (PRIV-APL-EG_00042144), 3095
              (PRIV-APL-EG_00102549), 3098 (PRIV-APL-EG_00102568), 3158 (PRIV-APL-
16
              EG_00103114), 3160 (PRIV-APL-EG_00103121), 3496 (PRIV-APL-EG_00106271)
17            The documents in this category are privileged in whole or in part because they contain
18   statements providing or reflecting legal advice. Entry 1643 is a message thread containing just
19   two lines of redacted text that disclose discussions with Sean Cameron (in-house counsel) regard-
20   ing a recommendation and plan for certain App Store services. Entries 3095, 3158, and 3160 are
21   different versions of an email exchange between Ling Lew (in-house counsel) and non-lawyers
22   discussing counsel’s edits to documents for developers regarding consultation opportunities. In
23   Entry 3098, the redacted text is advice from Mr. Cameron regarding the proper framing of App
24   Store services for members of the press. And in Entry 3496, Sean Dillon (in-house counsel) pro-
25   vides an assessment of legal arguments advanced by a regulatory body. While some of these ex-
26
     1
27    Consistent with the protocol, Apple has produced the documents identified in this submission to
     Epic. Dkt. 1092 ¶ 4(c). That production pursuant to a court order did not effect a waiver. See
28   Transamerica Computer Co. v. IBM Corp., 573 F.2d 646, 651 (9th Cir. 1978).

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 1   changes relate to business matters at Apple, the legal advice regarding those business matters is

 2   still privileged. See United States v. Chen, 99 F.3d 1495, 1501 (9th Cir. 1996).

 3            Contract Addenda and Guidelines: Entries 2995 (PRIV-APL-EG_00101492), 3006
              (PRIV-APL-EG_00101660), 3380 (PRIV-APL-EG_00105259), 3399 (PRIV-APL-
 4            EG_00105433), 3405 (PRIV-APL-EG_00105551), 3016 (PRIV-APL-EG_00101732),
              3103 (PRIV-APL-EG_00102627), 3318 (PRIV-APL-EG_00104797), 3358 (PRIV-
 5            APL-EG_00105066),     3360  (PRIV-APL-EG_00105082),     3334  (PRIV-APL-
              EG_00104911), 3105 (PRIV-APL-EG_00102636)
 6
              All but one of the documents in this category are a different version or iteration of various
 7
     addenda to Apple’s Developer Program License Agreement (the “DPLA”) with developers. As
 8
     the Court may recall, the DPLA is a contract that all developers must enter into with Apple in or-
 9
     der to create and distribute iOS apps on the iPhone. See Dkt. 812, at 29-32. The documents at
10
     issue here are contractual addenda to the DPLA—they are legal documents that bind both devel-
11
     opers and Apple. For each of these entries, a lawyer (either Mr. Cameron or Ms. Lew) provides
12
     an updated version of different addenda, with new edits reflecting Apple’s changes in response to
13
     global regulatory issues. The only exception is Entry 3105, which is a draft of the developer
14
     Guidelines circulated by Mr. Cameron and which raises the same issues.
15
              As Apple previously explained, see Dkt. 1193, at 3–4, “[d]rafting legal documents is a
16
     core activity of lawyers, and obtaining information and feedback from clients is a necessary part
17
     of the process.” Diversey U.S. Holdings, Inc. v. Sara Lee Corp., 1994 WL 71462, at *1 (N.D. Ill.
18
     Mar. 3, 1994); see also Barnes-Wallace v. City of San Diego, 2002 WL 35646619, at *4 (S.D.
19
     Cal. Dec. 5, 2002) (“[P]reliminary drafts of documents are protected by the attorney-client privi-
20
     lege.”). Indeed, drafts of contracts prepared or edited by lawyers are at the core of what the attor-
21
     ney-client privilege is meant to protect. To the extent Judge Hixson overruled Apple’s privilege
22
     assertions over these documents because Apple’s lawyers did not work in redline, that was error:
23
     There is no requirement that a lawyer redline, highlight, or otherwise indicate their changes to a
24
     document in order to make that document privileged when it is transmitted by the lawyer to a cli-
25
     ent for the purpose of providing legal advice. See In re Premera Blue Cross Customer Data Sec.
26
     Breach Litigation, 329 F.R.D. 656, 663 (D. Or. 2019).
27
              Information Collected and/or Prepared at the Direction of Counsel: Entries 3215
28
     MOTION FOR RELIEF FROM A NONDISPOSITIVE PRETRIAL
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 1            (PRIV-APL-EG_00103745), 3218 (PRIV-APL-EG_00103776), 3224 (PRIV-APL-
              EG_00103817), 3248 (PRIV-APL-EG_00104107), 3249 (PRIV-APL-EG_00104108),
 2            3251 (PRIV-APL-EG_00104112), 3252 (PRIV-APL-EG_00104113)
 3            The documents in this category comprise information prepared or compiled at the direc-
 4   tion of counsel in connection with ongoing litigation, including this litigation. These entries are
 5   all documents requested or sent by in-house and outside counsel before and during the evidentiary
 6   hearing in May 2024 in order to provide legal advice for the hearing.               See PRIV-APL-
 7   EG_00103745;            PRIV-APL-EG_00103774;          PRIV-APL-EG_00103807;              PRIV-APL-
 8   EG_00104105; PRIV-APL-EG_00104109 (parent emails). Regardless of whether the documents
 9   would be privileged if produced as standalone documents, they are privileged when provided to
10   or from attorneys in the course of those attorneys providing or developing legal advice. See Wil-
11   lis Elec. Co. v. Polygroup Trading Ltd., 2021 WL 568454, at *7 (D. Minn. Feb. 16, 2021) (adopt-
12   ing rule “protect[ing] a party from having to disclose that those specific documents were sent to
13   counsel in connection with a request for legal advice,” because “requiring disclosure of the at-
14   tachments themselves creates a risk that an opponent may reverse engineer the substance of a cli-
15   ent’s request for legal advice”); Am. W. Bank Members, L.C. v. Utah, 2022 WL 103736, at *9 (D.
16   Utah Jan. 11, 2022) (“[E]ven the forwarding of otherwise public information can reflect a client’s
17   concern and reveal the client sought legal advice in connection with it sufficient to merit attor-
18   ney-client privilege protections.”). That is because the attorney-client privilege “extends to a cli-
19   ent’s confidential disclosures to an attorney in order to obtain legal advice.”           In re Meta
20   Healthcare Litig., 2024 WL 3381029, at *2 (N.D. Cal. July 10, 2024); see also In re Lidoderm
21   Antitrust Litig., 2015 WL 7566741, at *4 (N.D. Cal. Nov. 25, 2015) (“The attorney-client privi-
22   lege protects communications between attorneys and their clients even when the facts being con-
23   veyed may themselves be unprivileged.”); Phoenix Sols. Inc. v. Wells Fargo Bank, N.A., 254
24   F.R.D. 568, 575 (N.D. Cal. 2008) (holding that confidential information disclosed by a client to
25   obtain legal advice is protected by the attorney-client privilege).
26            Draft Developer Documents: Entries 403 (PRIV-APL-EG_00019675), 3042 (PRIV-
              APL-EG_00102062), 3048 (PRIV-APL-EG_00102109)
27
              These documents are drafts of developer-facing communications and related documents.
28
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 1   Although the communications may not be privileged on their own, in this context, they are at-

 2   tachments to messages with in-house counsel in which counsel is providing feedback and analy-

 3   sis. Entry 403 is a draft system disclosure sheet attached to a message thread (PRIV-APL-

 4   EG_00019654) in which Ms. Lew and various non-lawyers discuss comments from Mr. Cameron

 5   about the sheet. Entry 3042 is an attachment to an email between Amy Dobrzynski (in-house

 6   counsel) (PRIV-APL-EG_00102059) and non-lawyers regarding edits to a developer intake form

 7   for new interoperability options under the Digital Markets Act. Entry 3048 is an attachment to an

 8   email from Mr. Cameron (PRIV-APL-EG_00102097) to a non-lawyer on a thread discussing the

 9   notarization process for apps and changes to the draft notarization support page (Entry 3048).

10   “[D]rafts of documents” reflecting legal advice are “protected by the attorney-client privilege,”

11   Barnes-Wallace, 2002 WL 35646619, at *4, at least when attached as part of an exchange with

12   in-house counsel seeking or receiving legal advice on those documents, see In re Premera Blue

13   Cross Customer Data Sec. Breach Litig., 329 F.R.D. at 663. Here, while the documents them-

14   selves have a business purpose and standing alone may not be privileged, the purpose of the

15   communication with counsel is to seek or provide legal advice. See In re Lidoderm Antitrust

16   Litig., 2015 WL 7566741, at *4.

17            Requests for Legal Feedback: Entries 601 (PRIV-APL-EG_00024072), 1636 (PRIV-
              APL-EG_00042126),      2943   (PRIV-APL-EG_00101062),    2947    (PRIV-APL-
18            EG_00101114), 2951 (PRIV-APL-EG_00101128), 2965 (PRIV-APL-EG_00101328),
              2977 (PRIV-APL-EG_00101398), 2981 (PRIV-APL-EG_00101407), 3004 (PRIV-
19            APL-EG_00101653), 3008 (PRIV-APL-EG_00101695)
20            These documents were sent to counsel for feedback. In each instance, the Special Masters
21   upheld Apple’s privilege assertions over the parent emails to which the documents are attached,
22   but not Apple’s privilege assertions over the attachments (or, in the case of Entry 601, Judge
23   Hixson overruled the Special Masters’ ruling upholding the privilege). These documents are
24   privileged because they were sent to counsel with a request for feedback. For example, Entry 601
25   is a draft fact sheet attached to an email indicating a need for “extensive” review by outside coun-
26   sel (PRIV-APL-EG_00024058). Entry 1636 is an attachment to a parent email (PRIV-APL-
27   EG_00042125) in which a non-lawyer asks for “feedback” from Ms. Lew on Entry 1636. Entries
28
     MOTION FOR RELIEF FROM A NONDISPOSITIVE PRETRIAL
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 1   2943, 2947, 2951, 2965, and 2977 are all screenshots of revised developer Guidelines sent to in-

 2   house counsel (Mr. Cameron, Ms. Lew, Jennifer Luo, and Taylor Phillips) for their feedback. See

 3   PRIV-APL-EG_00101044;               PRIV-APL-EG_00101319;         PRIV-APL-EG_00101398             (parent

 4   emails). And Entries 2981, 3004, and 3008 are drafts of proposed changes to developer support

 5   communications sent to counsel for feedback.               See PRIV-APL-EG_00101403; PRIV-APL-

 6   EG_00101611). “The attorney-client privilege protects confidential disclosures made by a client

 7   to an attorney in order to obtain legal advice,” In re Grand Jury Investigation, 974 F.2d 1068,

 8   1070 (9th Cir. 1992) (cleaned up), which is what these documents comprise.

 9            Attorney Presentation Materials: Entries 3114 (PRIV-APL-EG_00102722), 3115
              (PRIV-APL-EG_00102727), 3988 (PRIV-APL-EG_00116590)
10
              These documents are materials prepared by or at the direction of in-house counsel for
11
     presentation to various regulatory bodies. Entry 3114 is an email discussing strategy for a presen-
12
     tation Melissa Polinsky (in-house counsel) was planning to make to the UK government regard-
13
     ing child safety, and Entry 3115 is a draft slide for that presentation. Entry 3988 is a draft presen-
14
     tation drafted by outside counsel in connection with a proceeding before the European Commis-
15
     sion regarding Apple’s rules regarding music streaming apps. These are materials drafted or pro-
16
     vided for the purpose of seeking or obtaining legal advice, and they are therefore privileged.
17            Redacted Documents: Entries 1760 (PRIV-APL-EG_00043390), 3045 (PRIV-APL-
18            EG_00102087), 3183 (PRIV-APL-EG_00103273), 482 (PRIV-APL-EG_00021967),
              483 (PRIV-APL-EG_00021970), 1775 (PRIV-APL-EG_00044225), 486 (PRIV-APL-
19            EG_00021978), 3052 (PRIV-APL-EG_00102115), 3124 (PRIV-APL-EG_00102883),
              3349 (PRIV-APL-EG_00105014), 3350 (PRIV-APL-EG_00105019), 3351 (PRIV-
20            APL-EG_00105028),    3374   (PRIV-APL-EG_00105216),   3463    (PRIV-APL-
              EG_00106032)
21
              For the documents in this category, Judge Hixson refused to consider targeted redactions
22
     Apple proposed in lieu of seeking to overrule the Special Masters’ ruling in whole. As Apple has
23
     previously explained, Judge Hixson’s approach is not consistent with Federal Rule of Civil Pro-
24
     cedure 53(f). See Dkt. 1193, at 5. Apple reiterates that objection here.
25
                                                        CONCLUSION
26
              Apple respectfully requests that the Court reverse the Order in relevant part.
27

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     MOTION FOR RELIEF FROM A NONDISPOSITIVE PRETRIAL
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 1   Dated: February 14, 2025                               Respectfully submitted,

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     MOTION FOR RELIEF FROM A NONDISPOSITIVE PRETRIAL
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